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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                          )
PETER STRZOK,                             )
                                          )
                      Plaintiff,          )
                                          )
       v.                                 )
                                          )                Civil Action No. 19-2367 (ABJ)
ACTING ATTORNEY GENERAL JEFFREY A. )
ROSEN, in his official capacity as Acting )
Attorney General, et al.,                 )
                                          )
                      Defendants.         )
                                          )
                                          )
LISA PAGE,                                )
                                          )
                      Plaintiff,          )
                                          )
       v.                                 )
                                                           Civil Action No. 19-3675 (TSC)
                                          )
U.S. DEPARTMENT OF JUSTICE, et al.,       )
                                          )
                      Defendants.         )
                                          )
                                          )


                            JOINT MOTION FOR ENTRY OF
                         A STIPULATED PROTECTIVE ORDER

       Plaintiff Peter Strzok, Plaintiff Lisa Page, and Defendants the United States Department of

Justice, the Federal Bureau of Investigation, Acting Attorney General Jeffrey A. Rosen,1 and FBI

Director Christopher A. Wray respectfully move for entry of a stipulated protective order in each




1
 Jeffrey A. Rosen began serving as Acting Attorney General of the United States on December
24, 2020. Acting Attorney General Rosen has been automatically substituted for former Attorney
General William P. Barr pursuant to Fed. R. Civ. P. 25(d).
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of the above-captioned actions.2 The parties agree that there is good cause to issue a protective

order pursuant to Federal Rule of Civil Procedure 26(c) to govern the disclosure, use, and handling

by the parties and their respective agents, successors, personal representatives, and assignees of

certain information and items produced and received in discovery in the above-captioned actions.

The parties therefore respectfully request that the Court enter the attached proposed protective

order. See Exhibit 1.




Dated: January 8, 2021                       Respectfully submitted,

                                             JEFFREY BOSSERT CLARK
                                             Acting Assistant Attorney General

                                             MARCIA BERMAN
                                             Assistant Branch Director

                                             CHRISTOPHER R. HALL
                                             Assistant Branch Director

                                             /s/ Michael J. Gaffney
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                                             Counsel for Defendants




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 The above-captioned cases have been consolidated for purposes of discovery with respect to the
Privacy Act claims. The parties in Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and
Defendants DOJ; FBI; Jeffrey A. Rosen, in his official capacity as Acting Attorney General; and
Christopher A. Wray, in his official capacity as FBI Director. The parties in Civil Action No. 19-
3675 (TSC) are Plaintiff Lisa Page and Defendants DOJ and FBI.

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